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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                    Case No. 1:20-cr-00183-RJJ

                                                Hon. Robert J. Jonker
                                                United States District Judge


v.




ADAM DEAN FOX, and
BARRY GORDON CROFT, JR.,
                        Defendants.
________________________________________________________________________/

            MOTION FOR PERMISSION TO FILE ENLARGED BRIEF

         Mr. Croft and Mr. Fox, by their counsel, move the Court to permit the filing

of an enlarged brief which has been submitted contemporaneously with this motion.

         LCrR 47.1 imposes a 10,800-word limit on dispositive briefs. LCrR 47.2

imposes a 4,300-word limit on non-dispositive briefs. The motion and brief seeking a

new trial pursuant to Rule 33 filed in this matter is between the word limits for

non-dispositive and dispositive motions at 5,867 words. LCrR 47.1(a) includes a list

of “dispositive” motions which does not specifically include Rule 33 motions, but also

includes “other dispositive motions as defined by law”. Id.

         There doesn’t appear to be any controlling authority on whether a motion for

new trial is a “dispositive” motion. However, at least one court has suggested that



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Rule 33 motions are dispositive. See United States v. Hocking, 841 F.2d 735, 736

(7th Cir. 1988) (noting that the purpose of Rule 45 as applied to Rule 33 motions is

to avoid “imposition of sentence in advance of resolution of dispositive motions”).

Black’s defines “dispositive” as “[b]eing a deciding factor; (of a fact or factor)

bringing about a final determination.” DISPOSITIVE, Black's Law Dictionary (11th

ed. 2019).

       Counsel believes that a motion for new trial is dispositive because it seeks to

set aside a final determination of the jury regarding guilt and avoid sentencing.

However, out of an abundance of caution and in case the Court finds that the Rule

33 motion is non-dispositive, counsel seeks permission for the enlarged brief.

                                          Respectfully Submitted,

Dated: September 6, 2022                  /s/ Joshua A. Blanchard
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Dated: September 6, 2022                  /s/ Christopher Gibbons
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